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 Indigenous People of Biafra



                                                                               1:21-cv-2068
 Tony Blinken and Lloyd Austin




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08/16/2021                                                             /s/Jackie Francis
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                                         PROOF OF SERVICE
         (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

                       (name of individual and title, if any)

                 (date)


                                                                (place)

                                                                           (date)

                                                                                             (name)



(date)

                                   (name of individual)

                                                                    (name of organization)

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